Case 2:04-cv-02399-.]DB-dkv Document 21 Filed 06/09/05 Page 1 of 3 Page|D 43

FH,.ED B».:,
ll\l THE UNITED STATES DISTRICT COURT m _` D»C»
FOR THE WESTERN DisTRiCT OF TENNESSEE 95 Jtll; -.9 AH
WESTERN DivisioN 9"
. , §?i§c§ §T `- 51 wring
DLRECTV, hic., a California Corp., W,i“,i `G`j: §§ D!$T_ C
' "i" 5"MP ms
Plaintiff,
v. No. ()4-2399 B
JESSE POWELL,
Defendant.

 

ORDER DENYING WITHOUT PREJUDICE DEFENDANT’S
MOTION FOR COURT APPOINTED ATTORNEY

 

Before the Court is the May 12, 2005 motion for a court appointed attorney filed by the m
g Defendant, J esse Powell. A disposition on the merits of the request is not warranted at this
juncture, however, as the Defendant‘s filing is not in compliance With the Local Rules of this district
The Local Rules provide that motions must be accompanied by a certificate of consultation
"aftirming that, after consultation between the parties to the controversy, they are unable to reach an
accord as to all issues or that all other parties are in agreement With the action requested by the
motion." LR?.Z(a)(l)(B), Local Rules oftlie U.S. Dist. Ct. for the W. Dist. ofTenn. ("Local Rules").
The certificate of consultation

must contain the names of participating counsel and the date and manner of

consultationl The burden will be on counsel filing the motion to initiate the

conference upon giving reasonable notice of the time, place and specific nature of the

conference If an opposing counsel or party refuses to cooperate in the conduct of a

conference, counsel must file a certificate to that effect, setting out counsel's efforts

to comply With this rule.

LR')'.Z(a)(l)(B), Local Rules. ln this case, there is no indication that Defendant, as his own attorney,

conferred with opposing counsel on the matter which is the subject of the filing or that he made any

T;".is document entered on the docket sheet ln com liance
Wiih sure ss and/ci rain i=aci= an _ La_‘ _LQB\ "

Case 2:O4-cv-O2399-.]DB-dkv Document 21 Filed 06/09/05 Page 2 of 3 Page|D 44

attempt to do so. "Failure to tile an accompanying certificate of consultation may be deemed good
grounds for denying the inotion." LR?.Z(a)(l)(B), Local Rules. The Court further notes that
Defendant’s motion does not contain a certificate of service as required by Local Rule 7.2{3)(1).

Additionally, the Court points out that the Defendaiit has no right to appointed counsel in a
civil case. _S_e_eAbdur-Rahmari v. Michigan Dep’t ofCorr., 65 F.3d 489, 492 (6th Cir. 1995) (finding
that a district court did not err in denying a party’s request for a court appointed attorney because he
has no such constitutional right in a civil case). However, the Court may in exceptional
circumstances request an attorney to serve as counsel in a civil case for an indigent party, in the
Court’s discretion Washington v. Simon, No. 1:05-CV-179, 2005 WL 1309142, at *4 (W.D. l\/lich.
June 1, 2005) (citing Abdur-Rahman, 65 F.3d at 492; Lavado v. Keohane, 992 F.2d 601, 604-05 (6tli
Cir. 1993); Mallard v. United States District Court for the Southem District oflowa, 490 U.S. 296,
109 S.Ct. 1814, 104 L.Ed.Zd 318 (1989)). Here, the Defendant has not cited to any exceptional
circumstances which would warrant appointment of counsel.

Nevertheless, as the Plaintiff’ s filing is procedurally defective, it is hereby DENIED without
prejudice

i~\
ir is so 0RDERED this §§ day eriun@, 005.

/

J. DA iEL BREEN \
NiT D sTArES DisrRiCT JUDGE

 

¥\.)

 

Notice of Distribution

This notice confirms a copy of the document docketed as number 21 in
case 2:04-CV-02399 was distributed by faX, mail, or direct printing on
June 13, 2005 to the parties listed.

 

 

.1 esse Powell
6649 Bentbirch Cove
l\/lemphis7 TN 38115

Antonio L. Matthews

BAKER DONELSON BEARMAN CALDWELL & BERKOWITZ
165 Madison Ave.

Ste. 2000

l\/lemphis7 TN 38103

Honorable .1. Breen
US DISTRICT COURT

